Case 3:20-cv-02039-JPW Document6 Filed 11/12/20 Page 1 of 2

UNITED STATES DISTRICT COURT

for the

MIDDLE DISTRICT OF PENNSYLVANIA

ERIN SKALDE, ET AL.

 

Plaintiff Civil Action No.:
3:20-—CV—02039-—JPW

v. Hon. Jennifer P. Wilson

LEMIEUX GROUP, L.P., ET AL.
Defendant

 

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

CLARK DONATELLI
21 Peckham Ave.
Wakefield, RI 02879

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —-— or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Ciy. P. 12 (a)(2) or (3) —— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:

Michael D. Homans
HomansPeck, LLC

134 North Wayne Ave., Ste. 300
Wayne, PA 19087

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

PETER J. WELSH
CLERK OF COURT

s/ — Ed Petroski
Signature of Clerk or Deputy Clerk

 

 

 

ISSUED ON 2020-11-04 11:04:07, Clerk USDC MDPA

 
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Civ] Action No- 3:20-CV~92939-yp WwW
PROOF OF SERVICE

(This section should not he filed with the court unless required by Fed -R. Cty. PLd(D)

This summons for (name of j Individual and title, if any) LAK Dnaretiny
Was received by me on (date) LY tb es : Zt PEE eM; BORED » ae

Hr personally served the summons on the individual at (place)__-_—2.W Aianty 7 SAE Dons FEW

 

nl ON ale} A sor CO%, Lh ITE PALE
PS 40 Cray wa, 6", | FO-
“1 7 deft the Summons at the individual's residence or usual place of abode with (name) Seen

a person of suitable age and discretion who resides there,

on tdate) + and nailed a copy to the ind} vidual’s last known address: or -

' T served the svaunons on (name of individual) , who ts
ma

designated by law to accent service of process on behaly of (name of organizatio n)
NRE es ag 1 (date) ae or

| returned the summons unexecuted pecase .or

— Other (specify) :

My fees are $ for travel and ¢ for services, for a total of $

| declare under penal ly OF perjury that this information is true,

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Printed neune we title
L°0 Bae FERMIZ
L720) SQ OLS FL

Servers Address

 

Additional information ; regarding attempted ser Vice, cle:

  
  

FREDERICKS.& PALMER PROC
° SERVING a F
1735 MARKET STREET SUITE Aé
% PHILADELPHIA PA 79103
215-833-8307
